

Loreto v Wells Fargo Bank, N.A. (2018 NY Slip Op 07618)





Loreto v Wells Fargo Bank, N.A.


2018 NY Slip Op 07618


Decided on November 9, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 9, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., SMITH, CENTRA, NEMOYER, AND CURRAN, JJ.


1203 CA 17-01766

[*1]PATRICK LORETO, IN THE RIGHT OF AND ON BEHALF OF ENCORE PROPERTIES OF ROCHESTER, LLC, AND RICCARDO DURSI, IN THE RIGHT OF AND ON BEHALF OF ENCORE PROPERTIES OF ROCHESTER, LLC, PLAINTIFFS-APPELLANTS-RESPONDENTS,
vWELLS FARGO BANK, N.A., AS TRUSTEE FOR THE REGISTERED HOLDERS OF CREDIT SUISSE FIRST BOSTON MORTGAGE SECURITIES CORP., COMMERCIAL MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2007-C5, TIMOTHY FOSTER, AS RECEIVER, DEFENDANTS-RESPONDENTS, KENNETH P. RAY, JR., EXECUTOR OF THE ESTATE OF KENNETH P. RAY, DECEASED, DEFENDANT-RESPONDENT-APPELLANT, ET AL., DEFENDANTS. (APPEAL NO. 4.) 






JOSEPH A. TADDEO, JR., ROCHESTER, FOR PLAINTIFF-APPELLANT-RESPONDENT PATRICK LORETO, IN THE RIGHT OF AND ON BEHALF OF ENCORE PROPERTIES OF ROCHESTER, LLC. 
FELT EVANS, LLP, CLINTON (JAY G. WILLIAMS, III, OF COUNSEL), FOR DEFENDANT-RESPONDENT-APPELLANT.
BOND, SCHOENECK &amp; KING, PLLC, ROCHESTER (GREGORY J. MCDONALD OF COUNSEL), FOR DEFENDANT-RESPONDENT TIMOTHY FOSTER, AS RECEIVER.
RIKER DANZIG SCHERER HYLAND &amp; PERRETTI LLP, MORRISTOWN, NEW JERSEY (MICHAEL R. O'DONNELL OF COUNSEL), FOR DEFENDANT-RESPONDENT WELLS FARGO BANK, N.A., AS TRUSTEE FOR THE REGISTERED HOLDERS OF CREDIT SUISSE FIRST BOSTON MORTGAGE SECURITIES CORP., COMMERCIAL MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2007-C5.


	Appeal and cross appeal from an order of the Supreme Court, Monroe County (Matthew A. Rosenbaum, J.), entered September 25, 2017. The order, among other things, granted the motion of defendant Wells Fargo Bank, N.A., as Trustee for the Registered Holders of Credit Suisse First Boston Mortgage Securities Corp., Commercial Mortgage Pass-Through Certificates, Series 2007-C5 to confirm the referee's report of amount due. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs for reasons stated in the decision at Supreme Court.
Entered: November 9, 2018
Mark W. Bennett
Clerk of the Court








